UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MAUD MARON,
                             Plaintiff,
                      -v.-                              21 Civ. 5960 (KPF)
THE LEGAL AID SOCIETY and                                    ORDER
ASSOCIATION OF LEGAL AID ATTORNEYS,

                             Defendants.

KATHERINE POLK FAILLA, District Judge:

      The Court has received the parties’ submissions regarding Defendant

Legal Aid Society’s anticipated motion to revoke Mr. Randazza’s pro hac vice

admission for this case. (See Dkt. #28). Following the Court’s careful review of

Defendant’s arguments regarding Mr. Randazza’s disciplinary record, the Court

concludes that Mr. Randazza has not been unforthcoming with his disclosures

in his application for pro hac vice admission to this Court, nor does it find that

the additional context provided by Defendant warrants reconsideration of the

Court’s admission of Mr. Randazza pro hac vice. Therefore, the Court denies

Defendant’s application for a pre-motion conference regarding its anticipated

motion. Notwithstanding this conclusion, the Court shares Defendant’s

concern regarding certain of Mr. Randazza’s actions, including certain

allegations against him that are detailed in the materials provided by

Defendant. The Court summarizes its reasoning below.

      First, Defendant urges the Court to consider allegations beyond those to

which Mr. Randazza admitted in connection with a twelve-month suspension

he received from the Supreme Court of the State of Nevada in 2018. (See Dkt.
#28 at 1-2). As Mr. Randazza admits, the Nevada disciplinary proceeding

against him was resolved via a negotiated guilty plea agreement with the

Southern Nevada Disciplinary Board, which included his admission to violating

two of Nevada’s ethical rules regarding conflicts of interest and restrictions on

the practice of law. (See Dkt. #12-2 at 22-24). Beyond this guilty plea,

Defendant points the Court to the amended complaint that precipitated the

Nevada disciplinary proceedings, which complaint asserted seven additional

counts of ethical violations against Mr. Randazza (see Dkt. #28-1), and to

statements from a related interim arbitral award, in which the arbitrator found

that Mr. Randazza had negotiated for monetary bribes that would conflict him

out of future litigation involving parties with adverse interests to Mr.

Randazza’s client in that dispute (see Dkt. #28-2). As concerning as these

alleged breaches of Mr. Randazza’s ethical and professional obligations are, the

Court declines to reconsider Mr. Randazza’s pro hac vice admission based on

unadjudicated and disputed allegations. The additional counts in the amended

complaint are merely allegations, to which Mr. Randazza has not admitted.

Furthermore, the arbitral award cited by Defendant was controverted by a

referee in reciprocal disciplinary proceedings in the Florida Supreme Court.

(See Dkt. #12-2 at 12-14). As such, the Court does not consider the additional

context provided by Defendant to justify this Court’s revocation of Mr.

Randazza’s pro hac vice admission.

      Second, Defendant asserts that Mr. Randazza’s misconduct has not

ceased, as he has been accused of defending misleading representations by a

                                         2
federal court in Utah and of threatening a witness in a state-court proceeding

in Texas. (See Dkt. #28 at 3). A review of the allegations in these cases does

not convince the Court that it should reconsider Mr. Randazza’s pro hac vice

admission. In Purple Innovation, LLC v. Honest Reviews, LLC, No. 17 Civ. 138

(DB), 2018 WL 840035 (D. Utah, Feb. 12, 2018), the court assessed a series of

representations that Mr. Randazza made on behalf of a client that were found

to be misleading. While Mr. Randazza’s clients were sanctioned consequent to

those misrepresentations, the district court did not assess sanctions against

Mr. Randazza personally. As such, this Court does not perceive this sanctions

decision to be sufficient grounds to reconsider his admission in this District.

      The Court concludes the same as to the allegations of witness

intimidation in Texas state court. Upon review of the record in that case, the

Court finds that Mr. Randazza’s communications may be understood as

expressing a concern over a potential violation of California’s two-party consent

law. (See Dkt. #28-3 at 14-15). To be sure, the Court finds Mr. Randazza’s

tone and language in certain of his correspondence to be wholly unbecoming of

an officer of the court. Regardless, the Court does not perceive unadjudicated

charges of witness intimidation to be a basis for sanctioning Mr. Randazza in

the instant proceeding, at this time.

      Lastly, Defendant claims that Mr. Randazza’s representation that he has

never been disbarred or denied admission or readmission by any court is false

because he was denied pro hac vice admission in the Connecticut Superior

Court on two prior occasions. (See Dkt. #28 at 3). The Court disagrees and

                                        3
does not find the information in Mr. Randazza’s affidavit in support of his

motion for admission pro hac vice to be misleading. The Court is satisfied with

Mr. Randazza’s disclosure that he “was denied admission pro hac vice in the

Connecticut Superior Court while disciplinary proceedings related to the

[aforementioned] matters … were pending.” (Dkt. #12-2 at 2).

      For the foregoing reasons the Court DENIES Defendant’s request for a

pre-motion conference regarding its anticipated motion to revoke Mr.

Randazza’s pro hac vice admission. However, the Court should in no way be

understood as condoning or trivializing any of the serious allegations contained

in Mr. Randazza’s disciplinary record. Mr. Randazza appears to have

repeatedly toed ethical lines, and the Court remains concerned about the

recency of certain allegations against Mr. Randazza. The Court reserves the

right to revisit this decision if additional developments in this or other cases

render it appropriate for the Court to do so.

      The Clerk of Court is directed to terminate the pending motion at docket

entry 28.

      SO ORDERED.

Dated:      October 4, 2021
            New York, New York               __________________________________
                                                  KATHERINE POLK FAILLA
                                                 United States District Judge




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